Case 1:02-cv-01242-.]DT-tmp Document 68 Filed 07/21/05 Page 1 of 2 Page|D 89}

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IN THE UNITED STATES DISTRICT COURT 5’/? 596 <-?/ \
FOR THE WESTERN DISTRICT OF TENNESSEE 4’/@~:¢¢9,,§ 43 0
EASTERN DIVISION ¢@¢’W d.>. 'Q
i{J/`_, /,'Z;,;é¢O /‘P
§§
LARRYSMMELTON;T§§ £”
Plaintiffs,
vS. No. 02-1242_T
JOHN JEWELL, er §1.,
Defendants.

ORDER ()F REFERENCE

Defendants’ Motion for An Order Compelling Discovery and Extending Diseovery

CutoffDates are hereby referred to United States Magistrate Judge Tu Pharn for disposition

@»MA~%M

JAM D. TODD
UN D STATES DISTRICT IUDGE

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DATE f {)

lT IS SO ORDERED.

This document entered on the docket sheet in compliance
with Flute 58 and,'or_?g (a) FRCP on

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Honorable .1 ames Todd
US DISTRICT COURT

